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               12                            UNITED STATES DISTRICT COURT
               13                           CENTRAL DISTRICT OF CALIFORNIA
               14
               15      ALEJANDRA CHAISSON and                     Case No.
                       GRACE CHONG, individually and on
               16      behalf of all others similarly situated,   NOTICE OF REMOVAL OF CLASS
                                                                  ACTION TO FEDERAL COURT
               17                      Plaintiffs,
                                                                  [28 U.S.C. 1332, 1441, 1446, 1453]
               18            v.
                                                                  [Filed concurrently with Civil Cover
               19      UNIVERSITY OF SOUTHERN                     Sheet, Declaration of Erik Brink,
                       CALIFORNIA,                                Declaration of Leo P. Norton AND
               20                                                 Federal Rule of Civil Procedure 7.1
                                       Defendant.                 Disclosure Statement and Local Rule
               21                                                 7.1-1 Notice of Interested Parties]
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                   1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS:
                   2         PLEASE TAKE NOTICE that Defendant University of Southern California
                   3   (“USC”) hereby removes the above-captioned action from the Superior Court of the
                   4   State of California for the County of Los Angeles, where the action is now pending,
                   5   to the United States District Court for the Central District of California. This civil
                   6   action is removed on the basis of diversity jurisdiction under 28 U.S.C. §§ 1332,
                   7   1441, 1446, and 1453. For the reasons set forth below, this court has subject matter
                   8   jurisdiction under the Class Action Fairness Act of 2005 (“CAFA”), codified in part
                   9   at 28 U.S.C. §§ 1332 and 1453.
               10                                  PROCEDURAL HISTORY
               11            A.     The Initial Complaint.
               12            1.     On July 14, 2020, Plaintiffs Alejandra Chaisson (“Plaintiff Chaisson”)
               13      and Grace Chong (“Plaintiff Chong”) (collectively “Plaintiffs”) commenced a civil
               14      action in the Superior Court of the State of California for the County of Los Angeles,
               15      entitled Alejandra Chaisson and Grace Chong, individually and on behalf of all
               16      others similarly situated v. University of Southern California, Case No.
               17      20STCV27062.
               18            2.     The complaint, which was styled as a class action, alleged four causes
               19      of action: (i) violation of California Civil Code section 1671(d); (ii) violation of
               20      California Civil Code section 3275; (iii) unlawful business practices in violation of
               21      the Unfair Competition Law, California Business and Professions Code sections
               22      17200 et seq. (“UCL”); and (iv) unfair business practices in violation of the UCL.
               23      Declaration of Leo P. Norton (“Norton Decl.”), Ex. 1, ¶¶ 33-64. In sum, Plaintiffs
               24      asserted in the Complaint that certain fees charged by USC – the “Late Fees” –
               25      violated these statutes because such fees amount to void liquidated damages.
               26            3.     In the Complaint, Plaintiffs sought to certify a class of:
               27
               28
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                   1                All current or former students of USC who reside in
                                    California and paid or were charged one or more Late Fees
                   2                imposed by Defendant within the past four years. Any
                                    judicial officer to whom the Action is assigned is excluded
                   3                from the Class.
                   4   Norton Decl., Ex. 1, ¶ 25.
                   5         4.     USC was subsequently served with the summons and complaint on
                   6   August 19, 2020. A true and correct copy of the Complaint is attached as Exhibit 1
                   7   to the Norton Declaration. A true and correct copy of the proof of service of
                   8   summons that Plaintiffs filed in the Superior Court is also attached as Exhibit 1 to
                   9   the Norton Declaration.
               10            5.     On August 5, 2020, the Court issued an order setting an initial status
               11      conference. A true and correct copy of that order is attached as Exhibit 2 to the
               12      Norton Decl. On the same day, the Court entered a minute order staying the action
               13      pending the initial status conference. A true and correct copy of that order is attached
               14      as Exhibit 3 to the Norton Declaration. On September 9, 2020, the Court entered an
               15      order re-setting the initial status conference to December 7, 2020. A true and correct
               16      copy of that order is attached as Exhibit 4 to the Norton Declaration.
               17            6.     The parties jointly filed a proposed case management order on
               18      November 19, 2020. A true and correct copy of that filing is attached as Exhibit 5
               19      to the Norton Declaration.
               20            7.     On December 7, 2020, the Court issued a case management order. A
               21      true and correct copy of that order is attached as Exhibit 6 to the Norton Declaration.
               22      On the same day, the Court issued a further order authorizing electronic service. A
               23      true and correct copy of that order is attached as Exhibit 7 to the Norton Declaration.
               24            8.     On January 5, 2021, the Court issued a minute order setting a telephonic
               25      conference. A true and correct copy of that order is attached as Exhibit 8 to the
               26      Norton Declaration.
               27            9.     On January 12, 2021, the parties filed a joint status report. A true and
               28      correct copy of that report is attached as Exhibit 9 to the Norton Declaration. Then,
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                   1   having received that joint report, the Court issued an order cancelling a previously
                   2   set conference and authorizing USC to file a challenge to the complaint. A true and
                   3   correct copy of that order is attached as Exhibit 10 to the Norton Declaration.
                   4         10.    On January 26, 2021, USC filed two motions challenging the complaint
                   5   – a demurrer and a motion to strike. A true and correct copy of USC’s demurrer to
                   6   the complaint, together with the supporting papers filed in connection with that
                   7   motion, is attached as Exhibit 11 to the Norton Declaration. A true and correct copy
                   8   of USC’s motion to strike, together with the supporting papers filed in connection
                   9   with that motion, is attached as Exhibit 12 to the Norton Declaration.
               10            11.    Plaintiffs opposed the demurrer and motion to strike on February 25,
               11      2021. True and correct copies of Plaintiffs’ opposition papers are attached as
               12      Exhibits 13 (demurrer opposition) and 14 (motion to strike opposition) to the Norton
               13      Declaration. USC filed its reply papers on March 10, 2021. True and correct copies
               14      of USC’s reply papers are attached as Exhibits 15 (demurrer reply) and 16 (motion
               15      to strike reply) to the Norton Declaration.
               16            12.    The Court granted USC’s demurrer and motion to strike in part on
               17      March 25, 2021. Specifically, the Court sustained the demurrer as to Plaintiffs’
               18      section 1671(d) claim and granted the motion to strike as to Plaintiffs’ challenge to
               19      USC’s 1% monthly finance charge. True and correct copies of the Court’s orders on
               20      the motions are attached as Exhibit 17 to the Norton Declaration.
               21            B.     The First Amended Complaint.
               22            13.    On April 14, 2021, Plaintiffs filed their First Amended Complaint,
               23      which asserted three causes of action: (i) violation of California Civil Code section
               24      3275; (ii) unlawful business practices in violation of the UCL; and (iii) unfair
               25      business practices in violation of the UCL. Norton Decl. Ex. 19, ¶¶ 33-57. A true
               26      and correct copy of the First Amended Complaint is attached as Exhibit 18 to the
               27      Norton Declaration.
               28            14.    The First Amended Complaint maintained the same class definition as
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                   1   the original Complaint:
                   2                  All current or former students of USC who reside in
                                      California and paid or were charged one or more Late Fees
                   3                  imposed by Defendant within the past four years. Any
                                      judicial officer to whom the Action is assigned is excluded
                   4                  from the Class.
                   5   Norton Decl., Ex. 18, ¶ 25.
                   6         15.      On April 15, 2021, the parties filed a stipulated protective order. A true
                   7   and correct copy of that stipulated protective order, together with the proof of service
                   8   filed in connection with that document, is attached as Exhibit 19 to the Norton
                   9   Declaration.
               10            16.      The Court entered the protective order on April 21, 2021. A trued and
               11      correct copy of the Court’s order is attached as Exhibit 20 to the Norton Declaration.
               12            17.      On April 26, 2021, the parties filed a stipulation permitting Plaintiffs to
               13      file a second amended complaint. A true and correct copy of that stipulation, together
               14      with the proposed order and proof of service filed in connection with that stipulation,
               15      is attached as Exhibit 21.
               16            18.      The Court entered the stipulation on May 3, 2021. A true and correct
               17      copy of that order is attached as Exhibit 22.
               18            C.       The Second Amended Complaint.
               19            19.      Plaintiffs filed their Second Amended Complaint on May 11, 2021.
               20      That Second Amended Complaint (“SAC”), which is the operative pleading, asserts
               21      claims for: (i) violation of California Civil Code section 3275; (ii) unlawful business
               22      practices in violation of the UCL; (iii) unfair business practices in violation of the
               23      UCL; and (iv) violation of California Civil Code section 1671(b). See Norton Decl.
               24      Ex. 23, ¶¶ 33-65. A true and correct copy of the Second Amended Complaint is
               25      attached as Exhibit 23 to the Norton Declaration.
               26            20.      Again, the SAC maintained the same class definition as the original
               27      Complaint:
               28
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                   1                   All current or former students of USC who reside in
                                       California and paid or were charged one or more Late Fees
                   2                   imposed by Defendant within the past four years. Any
                                       judicial officer to whom the Action is assigned is excluded
                   3                   from the Class.
                   4   Norton Decl., Ex. 23, ¶ 25.
                   5             21.   On June 9, 2021, the Court entered an order setting a telephonic
                   6   conference. A true and correct copy of that order is attached as Exhibit 24.
                   7             22.   On June 14, 2021, the parties filed a joint report regarding USC’s
                   8   proposed motion to strike the jury demand in the SAC. A true and correct copy of
                   9   that filing is attached as Exhibit 25 to the Norton Declaration. The Court denied
               10      USC the opportunity to make that motion without prejudice to renewing the argument
               11      later in a minute order dated June 17, 2021. A true and correct copy of that minute
               12      order is attached as Exhibit 26 to the Norton Declaration.
               13                23.   USC answered the SAC on June 25, 2021. A true and correct copy of
               14      USC’s answer is attached as Exhibit 27 to the Norton Declaration.
               15                24.   On July 22, 2021, the parties filed a joint statement regarding the case
               16      status.     The Court entered the parties’ proposed schedule by minute order on
               17      July 28, 2021. True and correct copies of those documents are attached as Exhibits
               18      28 (joint statement) and 29 (minute order) to the Norton Decl.
               19                25.   On January 21, 2022, the parties filed a stipulation and proposed order
               20      to extend the case deadlines pending mediation. The Court approved the stipulation
               21      by order entered on February 3, 2022. True and correct copies of these documents
               22      are attached as Exhibits 30 (stipulation and proposed order) and 31 (order) to the
               23      Norton Declaration.
               24                D.    Plaintiffs’ Motion for Class Certification.
               25                26.   On June 22, 2022, Plaintiffs filed their motion for class certification. In
               26      their motion, Plaintiffs changed their class definition, expanding it from a California-
               27      only putative class to a nationwide class:
               28
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                   1                  All current and former students of USC who paid or were
                                      charged one or more Late Fees imposed by USC from
                   2                  July 14, 2016 to the date that class notice is disseminated,
                                      and who have not received a full refund or waiver of such
                   3                  fees. Any judicial officer to whom the Action is assigned
                                      is excluded from the class.
                   4
                   5         For purposes of the class definition, Plaintiffs defined “Late Fees” to include
                   6   “late registration fees, late settlement fees, and 1% finance charges for late balances.”
                   7   Norton Decl., Ex. 31, at 8.
                   8         27.      Pursuant to the parties’ protective order, Plaintiffs filed their motion for
                   9   class certification and supporting documents partially under seal. True and correct
               10      copies of Plaintiffs’ un-redacted, conditionally-sealed motion for class certification
               11      and supporting papers are attached hereto as Exhibits 32 (motion and memorandum
               12      of points and authorities); 33, 34, and 35 (Krivoshey declaration, in three parts); 36
               13      (trial plan); and 37 (proposed order) to the Norton Declaration.
               14            28.      Pursuant to the protective order, Plaintiffs also publicly filed redacted
               15      versions of their motion and the Krivoshey declaration. True and correct copies of
               16      those filings are attached as Exhibits 38 (motion and memorandum of points and
               17      authorities), 39 (Krivoshey declaration), and 40 (notice of lodging of documents
               18      conditionally under seal).
               19            29.      On the same day, Plaintiffs filed a motion to seal their class certification
               20      motion and supporting papers. True and correct copies of that motion and its
               21      supporting papers are attached as Exhibits 41 (motion and memorandum of points
               22      and authorities); 42 (Krivoshey declaration); and 43 (proposed order) to the Norton
               23      Declaration.
               24            30.      Also on the same day, the parties filed a stipulation to permit USC to
               25      take the deposition of one class plaintiff (Plaintiff Chaisson) on June 23, 2022. A
               26      true and correct copy of that stipulation is attached as Exhibit 44 to the Norton
               27      Declaration.
               28            31.      On July 18, 2022, USC filed a brief in support of Plaintiffs’ motion to
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                   1   seal their motion for class certification and supporting papers. That brief, the
                   2   accompanying declaration, and the associated proof of service are attached as
                   3   Exhibit 45 to the Norton Declaration.
                   4         32.    These Exhibits 1-45 attached to the Norton Declaration. constitute all
                   5   process, pleadings, and other orders served upon or by Defendant in this matter.
                   6   Norton Decl., ¶ 34.
                   7                              TIMELINESS OF REMOVAL
                   8         33.    As defined in the original, First Amended, and Second Amended
                   9   Complaints Plaintiffs’ class was limited to California residents:
               10                   All current or former students of USC who reside in
                                    California and paid or were charged one ore more Late
               11                   Fees imposed by Defendant within the past four years. Any
                                    judicial officer to whom the Action is assigned is excluded
               12                   from the Class.
               13
                       Norton Decl., Ex. 1, ¶ 25; id., Ex. 17, ¶ 25; id., Ex. 23, ¶ 25. Plaintiffs also
               14
                       specifically disclaimed federal jurisdiction:
               15
                                    Federal court subject matter jurisdiction over this action
               16                   does not exist. Diversity of citizenship does not exist.
                                    Plaintiffs assert no federal question or violations of federal
               17                   law in this Complaint. Plaintiffs’ individual claims do not
                                    exceed $75,000.
               18
               19      Norton Decl., Ex. 1, ¶ 9; id., Ex. 17, ¶ 9; id., Ex. 23, ¶ 9.
               20
                             Because USC is a California citizen for jurisdictional purposes, on the face of
               21
                       the prior complaints, this single-state California-only class lacked total diversity
               22
                       required to remove on diversity grounds under 28 U.S.C. §§ 1332 and 1446 or
               23
                       minimal diversity required to remove under CAFA. See, e.g., Life of the S. Ins. Co.
               24
                       v. Carzell, 851 F.3d 1341, 1345-46 (11th Cir. 2017) (finding no CAFA removal in
               25
                       class action where plaintiffs “restricted their class to ‘Georgia citizens,’ as “the
               26
                       plaintiffs are Georgia citizens and the corporate defendants are Georgia . . . citizens”).
               27
                             34.    But in their motion for class certification, Plaintiffs changed their class
               28
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                   1   definition, expanding a putative California-only specific class into a putative national
                   2   class:
                   3                  All current and former students of USC who were paid or
                                      charged one or more Late Fees imposed by USC from July
                   4                  14, 2016 to the date that class notice is disseminated, and
                                      who have not received a full refund or waiver of such fees.
                   5                  Any judicial officer to whom the Action is assigned is
                                      excluded from the Class.
                   6
                   7   Norton Decl., Ex. 38 at 8.
                   8            35.   This notice of removal is therefore timely because it is filed within thirty
                   9   (30) days from June 22, 2022, the date on which USC received Plaintiffs’ motion for
               10      class certification, which changed the class definition and which is a “motion . . .
               11      from which” USC could first “ascertain[] that the case is one which is or has become
               12      removable.” 28 U.S.C. § 1446(b)(3). See also Reyes v. Dollar Tree Stores, Inc.,
               13      781 F.3d 1185, 1189-90 (9th Cir. 2015) (holding removal under CAFA allowed
               14      where class certification order “created a new amount in controversy”); Dancel v.
               15      Groupon, Inc., 2018 WL 11141880, at *2 (N.D. Ill. Dec. 4, 2018) (holding change in
               16      definition at class certification, from state-specific class to national class, supported
               17      removal).
               18               36.   Further, pursuant to CAFA, 28 U.S.C. § 1453(b), the one-year limit on
               19      removal set out in 28 U.S.C. § 1446 is inapplicable to this case. See, e.g., Abrego
               20      Abrego v. The Dow Chem. Co., 443 F.3d 676, 684 (9th Cir. 2006) (holding that in
               21      removal under CAFA, “the one year time limit for removal set forth in § 1446(b)
               22      does not apply”). Accordingly, this notice of removal is timely under 28 U.S.C.
               23      §§ 1446 and 1453.
               24               37.   USC will give Plaintiffs written notice as required under 28 U.S.C.
               25      § 1446(d) by serving Plaintiffs, through their counsel of record, with this notice of
               26      removal and all documents filed in support thereof and concurrently herewith on the
               27      date of filing of this notice of removal.
               28
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                   1                          SUBJECT MATTER JURISDICTION
                   2          38.     Under CAFA, a district court shall have original jurisdiction over any
                   3   civil action styled as a class action in which: (i) the number of members of the
                   4   proposed plaintiff class is not less than one hundred, in the aggregate; (ii) “the matter
                   5   in controversy exceeds the sum or value of $5,000,000, exclusive of interest and
                   6   costs”; and (iii) “any member of a class of plaintiffs is a citizen of a State different
                   7   from any defendant.” 28 U.S.C. §§ 1332(d)(2) & (d)(5). If a state court putative
                   8   class action meets all three requirements, it may be removed to federal court. See 28
                   9   U.S.C. § 1441(a) (“[A]ny civil action brought in a State court of which the district
               10      courts of the United States have original jurisdiction, may be removed by the
               11      defendant[.]”).
               12             39.     CAFA jurisdiction exists here.
               13             A.      The Proposed Class Exceeds 100 Members.
               14             40.     Plaintiff seeks to certify a class defined as “All current and former
               15      students of USC who were paid or charged one or more Late Fees imposed by USC
               16      from July 14, 2016 to the date that class notice is disseminated, and who have not
               17      received a full refund or waiver of such fees.” Norton Decl., Ex. 38, at 8.
               18             41.     Plaintiffs contend that over 47,000 USC students “were charged late
               19      fees during the class period.” Id., at 15. Further, in the SAC, Plaintiffs allege that
               20      their California-only class consisted of “at least thousands of individuals” – a number
               21      that has surely grown now that Plaintiffs have sought to expand the putative class
               22      definition from California-only to nationwide. Norton Decl., Ex. 23, ¶ 27.
               23             42.     Accordingly, without conceding liability, the appropriateness of class
               24      treatment, the appropriateness of Plaintiffs’ class definition, or the validity of
               25      Plaintiffs’ claims for relief, if the allegations in the SAC and the motion for class
               26      certification are accepted as true, there are more than 100 proposed class members.
               27      See,   e.g.,    Phillips   v.   Wellpoint,    Inc.,   2010   WL     4877718,     at   *2
               28      (S.D. Ill. Nov. 23, 2010) (relying on allegation in plaintiff’s complaint that “the
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                   1   proposed class will exceed 20,000 policyholders and group members” to support a
                   2   finding of jurisdiction under CAFA).
                   3         43.    Accordingly, CAFA’s first requirement is satisfied. See 28 U.S.C.
                   4   § 1332(d)(5)(B).
                   5         B.     The Amount in Controversy Exceeds $5 Million.
                   6         44.    Plaintiffs’ SAC, as modified by the motion for class certification, does
                   7   not set out a specific amount of damages, though the amount in controversy is
                   8   ascertainable from the allegations set forth in the SAC and as stated in the unredacted
                   9   motion for class certification filed provisionally under seal in state court. In such
               10      circumstances, a defendant “need only include a plausible allegation that the amount
               11      in controversy exceeds the jurisdictional threshold, and the defendant’s amount in
               12      controversy allegation should be accepted if not contested by the plaintiff or
               13      questioned by the court.” Varsam v. Lab. Corp. of Am., 2015 WL 4199287, at *1
               14      (S.D. Cal. July 13, 2015); see also Dart Cherokee Basin Operating Co., LLC v.
               15      Owens, 574 U.S. 81, 89 (2014) (same). If contested, removal is proper so long as the
               16      defendant establishes by a preponderance of evidence that a plaintiff demands in
               17      excess of $5 million in damages in the aggregate for himself or herself and the
               18      putative class. See Abrego Abrego, 443 F.3d at 683 (“Where the complaint does not
               19      specify the amount of damages sought, the removing defendant must prove by a
               20      preponderance of the evidence that the amount in controversy requirement has been
               21      met.”).
               22            45.    “In measuring the amount in controversy, a court must assume that the
               23      allegations of the complaint are true and that a jury will return a verdict for the
               24      plaintiff on all claims made in the complaint.” Korn v. Polo Ralph Lauren Corp.,
               25      536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008). “The ultimate inquiry is what amount
               26      is put ‘in controversy’ by the plaintiff’s complaint, not what a defendant will actually
               27      owe.” Id. (emphasis in original); accord Deehan v. Amerigas Partners, L.P., 2008
               28      WL 4104475, at *2 (S.D. Cal. Sept. 2, 2008); Muniz v. Pilot Travel Centers LLC,
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                   1   2007 WL 1302504, at *3 (E.D. Cal. May 1, 2007). A defendant’s burden of proof
                   2   on removal “is not daunting, as courts recognize that . . . a removing defendant is not
                   3   obligated to research, state, and prove the plaintiff’s claims for damages.” Korn, 536
                   4   F. Supp. 2d at 1204–05 (emphasis in original; internal quotation marks omitted).
                   5         46.    Here, Plaintiffs seek the return of all Late Fees that (1) were charged
                   6   and paid during the Class Period and (2) were charged during the Class Period and
                   7   which have not yet been waived. Norton Decl., Ex. 38, at 15. In their unredacted
                   8   motion for class certification, Plaintiffs specifically state the amount at issue, and it
                   9   is well over $5 million. Id., Ex. 32, at 9.
               10            47.    Without conceding liability, the existence or non-existence of any
               11      offsets or other means by which Plaintiffs’ claimed damages can be reduced, the
               12      appropriateness of class treatment, the appropriateness of Plaintiffs’ class definition,
               13      or the validity of Plaintiffs’ claims for relief, Plaintiffs seek to recover well in excess
               14      of $5 million in Late Fees. See Muniz, 2007 WL 1302504, at *4 (“[P]laintiff includes
               15      no fact-specific allegations that would result in a putative class or violation rate that
               16      is discernibly smaller than 100%” and plaintiff “is the master of [his] claims, and if
               17      [he] wanted to avoid removal, [he] could have alleged facts specific to [his] claims
               18      which would narrow the scope of the putative class or the damages sought.”) (internal
               19      alterations and quotation marks omitted).
               20            48.    Moreover, under CAFA, the potential cost of an attorneys’ fee award
               21      should also be considered when calculating the amount in controversy. Lowdermilk
               22      v. U.S. Bank Nat’l Ass’n, 479 F.3d 994, 1000 (9th Cir. 2007) (“We have held that
               23      attorneys’ fees were properly included in the amount in controversy in a class
               24      action.”), overruled on other grounds, Rodriguez v. AT&T Mobility Servs. LLC, 728
               25      F.3d 975, 977 (9th Cir. 2013); Yeroushalmi v. Blockbuster, Inc., 2005 WL 2083008,
               26      at *3, *5 & n.4 (C.D. Cal. July 11, 2005) (holding that under CAFA, the amount put
               27      in controversy includes the potential fee award); see also Tompkins v. Basic Research
               28      LL, 2008 WL 1808316, *4 (E.D. Cal. Apr. 22, 2008) (including 25% of the common
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                   1   fund for attorneys’ fees when calculating amount in controversy).
                   2          49.   Here, Plaintiffs’ SAC seeks attorneys’ fees. Norton Decl. Ex. 23, at 17
                   3   ¶ E.
                   4          50.   Without conceding liability or the appropriateness of Plaintiffs’ request
                   5   for attorneys’ fees, such fees could also be significant because this is a putative
                   6   nationwide class action with, according to Plaintiffs, “thousands” of class members.
                   7   Norton Decl. Ex. 24, ¶ 27. Plaintiffs’ request for attorneys’ fees takes the amount in
                   8   controversy far beyond the statutory threshold. See 28 U.S.C. § 1332(d)(2).
                   9          51.   Accordingly, CAFA’s second requirement is satisfied. Id.
               10             C.    The Parties Are Citizens of Different States
               11             52.   Under CAFA, federal courts have jurisdiction where “any member of a
               12      class of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C.
               13      § 1332(d)(2)(B).
               14             53.   USC is a citizen of California. Accordingly, minimal diversity exists if
               15      any member of plaintiffs’ proposed class is a citizen of a state other than California.
               16             54.   At least one member of the alleged putative class is a citizen of a State
               17      outside of California. Indeed, approximately 60% of USC students during the alleged
               18      class period had permanent addresses in states outside of California, but in the United
               19      States, or have permanent addresses outside of the United States. (Brink Decl., ¶ 4.)
               20             55.   Consequently, the third prong of CAFA is satisfied.              28 U.S.C.
               21      § 1332(d)(2)(A).
               22                                              VENUE
               23             56.   Removal to this judicial district and division is proper under 28 U.S.C.
               24      §§ 1441(a) and 1446(a) because the state court action was originally pending in this
               25      judicial district – specifically, in the Superior Court of the State of California for the
               26      County of Los Angeles.
               27             57.   Promptly after filing this notice of removal with this Court, USC will
               28      give notice to Plaintiff’s counsel and file a copy with the Clerk of the Los Angeles
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                   1   County Superior Court, as required by 28 U.S.C. § 1446(d).
                   2                                      CONCLUSION
                   3         58.    Based on the foregoing, USC removes the civil action filed in the
                   4   Superior Court of the State of California for the County of Los Angeles to the United
                   5   States District Court for the Central District of California.
                   6
                   7   Dated: July 18, 2022                         COOLEY LLP
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                   9                                                By:/s/Leo P. Norton
                                                                       Leo P. Norton
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                                                                    Attorneys for Defendant
               11                                                   UNIVERSITY OF SOUTHERN
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